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                             UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF TEXAS

                                     SHERMAN DIVISION

 UNITED STATES OF AMERICA                            §
                                                     §
 V.                                                  §     NO. 4:17CR177
                                                     §     (Judge Mazzant)
 ARLANDO JACOBS                                      §


          MOTION FOR CONTINUANCE OF PRETRIAL MOTION DATES,
      CHANGE OF PLEA DEADLINE, AND FINAL PRETRIAL CONFERENCE DATE

 TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT FOR THE
 EASTERN DISTRICT OF TEXAS;

        COMES NOW, Defendant ARLANDO JACOBS, by and through his undersigned

 attorney, and files this, his MOTION FOR CONTINUANCE OF PRETRIAL MOTION DATES,

 CHANGE OF PLEA DEADLINE, AND FINAL PRETRIAL CONFERENCE DATE, and would

 show this Honorable Court as follows, to-wit:

                                                 I

                                  PROCEDURAL HISTORY

        On the 11th day of October, 2017, the Defendant, Jacobs was indicted in a seven-count

 indictment alleging a violation of 18 U.S.C. § 1349 (Conspiracy to Commit Wire Fraud), 18

 U.S.C. § 1344 (Bank Fraud), 18 U.S.C. 1343 (Wire Fraud), and 18 U.S.C. § 1028A (Aggravated

 Identity Theft). On or about October 17, 2017, Defendant Jacobs appeared before United States

 Magistrate Judge Kimberly C Priest Johnson on an Arraignment. At that time, the Office of the
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 Federal Public Defender for the Eastern District of Texas was appointed to represent the

 Defendant. The Pretrial Order relating to Pretrial Discovery and Inspection was filed, and the

 order imposed a deadline of November 14, 2017, for a change of plea by the Defendant and

 scheduled a Final Pretrial Conference for December 1, 2017.

                                     GROUNDS FOR MOTION

        Defense counsel is currently in the process of receiving and reviewing discovery. Because

 of the nature of the offense and the possible punishment, defense counsel must then carefully

 review the evidence with the Defendant and insure that all questions are answered. In addition,

 there are issues that defense counsel wishes to discuss with the government and present to the

 Defendant. Defendant respectfully requests additional time to discuss the case with counsel for

 the government and insure that all evidence is reviewed in order to make a fully informed decision.

 This request is made in order to insure that effective assistance of counsel is provided to the

 Defendant.

        Due to the reason outlined above, Defendant respectfully requests an additional 60 days

 for the pretrial motion dates, change of plea deadline, and final pretrial conference date.

        WHEREFORE PREMISES CONSIDERED, Defendant respectfully requests that the

 pretrial motion dates, change of plea deadline, and final pretrial conference date in this case be

 reset from their current setting.



                                                               Respectfully submitted,

                                                               /s/ Robert Arrambide
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                                                            ROBERT ARRAMBIDE
                                                            Assistant Federal Defender
                                                            Eastern District of Texas
                                                            600 E. Taylor, Suite 4000
                                                            Sherman, Texas 75090
                                                            (903) 892-4448
                                                            FAX: (903) 892-4808

                                                            Attorney for Defendant



                             CERTIFICATE OF CONFERENCE

        Defense counsel contacted Assistant United States Attorney, Christopher A. Eason, and
 the Government does not oppose this motion.


                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 8th day of September, a true and correct copy of the foregoing
 Defendant's MOTION FOR CONTINUANCE OF PRETRIAL MOTION DATES, CHANGE
 OF PLEA DEADLINE, AND FINAL PRETRIAL CONFERENCE DATE was sent by CM/ECF
 to:

        Christopher A. Eason
        Assistant U.S. Attorney
        101 East Park Blvd., Suite 500
        Plano, Texas 75074




                                                                        /s/Robert Arrambide
                                                                        ROBERT ARRAMBIDE
